Case 1:05-cr-10004-.]DT Document 29 Filed 05/03/05 Page 1 of 2 Pa/Qe|D 40

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

UNITED STATES OF AMERICA

vs CR NO. l :05-CR-10004-01-T

MARY CHRISTINE GREEN

ORDER ON CHANGE OF PLEA
This cause came onto be heard on May 2, 2005, Assistant U. S. Attorney,
Jerry Kitchen, appearing for the government, and the defendant appeared in person and with
counsel, Michael J. Stengel, who was appointed
With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Connt 1 of the Indictment.
This case has been set for sentencing on Fridav. Julv 29. 2005 at 8:30 A.M.

The defendant is remanded to the custody of the United States Marshal.

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JAM D. TODD
UN D STATES DISTRlCT IUDGE

DATE: 01 mla/01 9'¢"(

IT IS SO ORDERED.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
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Honorable J ames Todd
US DISTRICT COURT

